438 F.2d 639
    UNITED STATES of America, Plaintiff-Appellee,v.Cleveland JOHNS, Defendant-Appellant.No. 30289 Summary Calendar.**Rule 18, 5 Cir.; See Isbell Enterprises, Incv.Citizens Casualty Co. of New York et al., 5 Cir. 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Feb. 8, 1971.
    
      J. Michael Kelly, Atlanta, Ga.  (Court-appointed) for defendant-appellant.
      William J. Schloth, U.S. Atty., D. L. Rampey, Jr., Asst. U.S. Atty., Macon, Ga., for plaintiff-appellee.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant, Cleveland Johns, is appealing from convictions for carrying on a business of distilling with intent to defraud the United States of taxes in violation of 26 U.S.C.A. 5602, possession of distilled spirits in violation of 26 U.S.C.A. 5205(a)(2), 5604(a), and possession of property intended for use in violating the provisions of the Internal Revenue Code in violation of 26 U.S.C.A. 5686(a).
    
    
      2
      Johns objects to his conviction, contending that he evidence was insufficient to support the verdict on all counts and in particular was insufficient to support the conviction for violation of 26 U.S.C.A. 5602, carrying on the business of a distiller.  He further complains about allegedly improper remarks of the prosecutor.
    
    
      3
      We have carefully examined each of appellant's allegations of error and find them without merit.  The judgment of the district court is therefore affirmed.
    
    